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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF COLUMBIA
                                 WASHINGTON, D.C.


UNITED STATES OF AMERICA,                  )
                                           )
           Plaintiff,                      )
                                           )
    v.                                     ) Case No.   1:22-cr-00317-TSC-1
                                           )
KASEY V. HOPKINS                           )
                                           )
          Defendant.                       )

                        MOTION TO EXTEND THE SELF SURRENDER
                             DEADINE WITH SUGGESTIONS

         COMES NOW defendant Hopkins and moves the Court to extend his self surrender

deadline to August 1, 2023. Defendant has been designated to serve the sentence imposed

in this case at the US Bureau of Prisons Transfer Point in Oklahoma City. His current

report date is May 10, 2023.

         As this Court will recall, Mr. Hopkins is the owner and key man in a company called

State Line Exteriors. When sentenced in this case to four months, he had existing contracts

for substantial projects for which he is responsible. As customary, down payments have

been made by customers and substantial funds have been expended or contracted for to

supply materials to complete these jobs.

         Based on the recommendation of the probation officer and prior sentences imposed

by this Court, defendant was surprised at the amount of time imposed. Be that as it may, he

immediately commenced to reschedule and juggle jobs and contract commitments after
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sentencing to avoid any contract breaches and loss of funds to suppliers and customers. His

business is important to him and something he is proud of and his personal promise to

himself has been to never let another supplier, customer or sub-contract down.

      Mr. Hopkins has now stopped signing new contracts and made arrangements to slow

the business down significantly commencing August 1, 2023. It would greatly assist him

and enable him to meet existing obligations if this Court would kindly extend his report

date for self surrender from the current May 10 date to August 1, 2023.

      WHEREFORE, counsel moves the Court to enter an order directing defendant to

self surrender on August 1, 2023.



Respectfully submitted:

/s/ John R. Osgood
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CERTIFICATE OF SERVICE

        I certify that a copy of this pleading has been caused to be served on the Assistant
United States Attorney for District of Columbia, Washington, D.C. and other ECF listed
counsel through use of the Electronic Court Document Filing System on April 21, 2023.
/s/ jro
JOHN R. OSGOOD




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